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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

ASUS COMPUTER INTERNATIONAL,
INC.,

Plaintiff,
V.
ROUND ROCK RESEARCH, LLC,
Defendant.

ROUND ROCK RESEARCH, LLC,
Counterclaim Plaintiff,
Vv.

ASUSTEK COMPUTER INC. and ASUS
COMPUTER INTERNATIONAL, INC.,

Counterclaim Defendant.

Case No. 3:12-cv-02099-JST

DECLARATION OF LAUREN M.
NOWIERSKI IN SUPPORT OF
DEFENDANT ROUND ROCK
RESEARCH, LLC’S OPPOSITION |
TO NON-PARTY PIXART IMAGING
(U.S.A.), INC."S MOTION TO QUASH
DEPOSITION SUBPOENA;
REQUEST FOR SANCTIONS

DECLARATION OF LAUREN M. NOWIERSKI 1

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I, Lauren M. Nowierski, declare as follows:

1. I am an attorney at the law firm Desmarais LLP, counsel for defendant Round Rock
Research, LLC (“Round Rock”) in this action. I am admitted pro hac vice to appear before the
Court on Round Rock’s behalf in this action. I have personal knowledge of the information
presented herein, and if called as a witness, I could competently testify regarding the matters set
forth herein. I submit this declaration in support of Round Rock Research, LLC’s Opposition to
Non-Party PixArt Imaging (U.S.A.), Inc.’s Motion to Quash Deposition Subpoena; Request for
Sanctions.

2. On or about January 7, 2013, Round Rock caused to be served a subpoena duces tecum on
PixArt Imaging (USA), Inc. Attached hereto as Exhibit A is a true and accurate copy of Round
Rock Research, LLC’s Subpoena to Produce Documents, Information, or Objects or to Permit
Inspection of Premises in a Civil action to PixArt Imaging (USA), Inc., served on or about January
7, 2013, signed by Lauren M. Nowierski of Desmarais LLP (hereinafter “Document Subpoena”).

3. On or about January 10, 20 13, I received a call from counsel for Pixart Imaging (USA), Inc.,
Duane Mathiowetz from Schiff Hardin regarding the Document Subpoena. On that call, Mr.
Mathiowetz advised me that it was unlikely that Pixart Imaging (USA), Inc. had documents
responsive to the subpoena. Mr. Mathiowetz also advised me that he would be following up in
writing.

4. On or about January 19, 2013, I received a letter sent by U.S. mail from Mr. Mathiowetz
dated January 15, 2013. Attached hereto as Exhibit B is a true and accurate copy of a letter from Mr.
Duane H. Mathiowetz to Lauren M. Nowierski dated J anuary 15, 2013.

5. On or about August 29, 2013, I emailed Mr. Mathiowetz requesting to follow up with him
regarding his January 15, 2013 letter. Attached hereto as Exhibit C is a true and accurate copy of an
electronic mail message from Lauren M. Nowierski to Duane H. Mathiowetz dated August 29, 2013.

6. On or about September 12, 2013, Round Rock served a subpoena for testimony on Pixart
Imaging (USA), Inc. Attached hereto as Exhibit D is a true and accurate copy of Round Rock

Research, LLC’s Subpoena to Testify at a Deposition in a Civil Action to PixArt Imaging (USA),

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Inc., served on or about September 12, 2013, signed by Justin P.D. Wilcox of Desmarais LLP
(hereinafter “Deposition Subpoena’).

7. On or about September 13, 2013, I spoke with Mr. Mathiowetz by telephone regarding my
August 29, 2013 request to speak. During that September 13, 2013 conversation, I sought further
information from Mr. Mathiowetz regarding Pixart Imaging (USA), Inc.’s business as well as
whether PixArt had access to the documents.

8. On September 25, 2013, I received an email from Mr. Mathiowetz regarding our September
13, 2013 discussion and the Deposition Subpoena. Attached hereto as Exhibit E is a true and
accurate copy of an electronic mail message from Duane H. Mathiowetz to Lauren M. Nowierski
dated September 25, 2013.

9. On October 1, 2013, I sent Mr. Mathiowetz an email stating that Round Rock “would like
more time to consider Pixart Imaging’s objections to the subpoena for testimony” and proposed
continuing the date of the subpoena from Friday, October 4, 2013 to Friday, October 18, 2013.
Attached hereto as Exhibit F is a true and accurate copy of an electronic mail message from Lauren
M. Nowierski to Duane H. Mathiowetz dated October 1, 2013.

10. On October 16, 2013, Mr. Mathiowetz sent e-mail correspondence regarding Round Rock’s
subpoena on October 16. Attached hereto as Exhibit G is a true and accurate copy of an electronic
mail message from Duane H. Mathiowetz to Lauren M. Nowierski dated October 16, 2013.

11. On Thursday, October 17, 2013, before I had an opportunity to reply to the October 16 email,
Mr. Mathiowetz called, and we spoke briefly. I indicated that I could not provide an answer to
PixArt’s request that Round Rock withdraw its subpoena at that time, but expressed the hope that I
would be able to respond to his request within the hour. Mr. Mathiowetz did not state on that phone
call that PixArt intended to move to quash Round Rock’s subpoena imminently, and neither I nor
PixArt’s counsel indicated in any way that a deposition would go forward the following day. I also
neither expressed that Round Rock had reached a decision with respect to how Round Rock would

proceed nor that Round Rock expected to go forward with a deposition the following day.

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12.On Friday, October 18, 2013, Mr. Mathiowetz sent email correspondence regarding his
request from the prior day. That email did not indicate that PixArt intended to file a motion to
quash. Before I was able to reply, Mr. Mathiowetz filed the motion to quash. (D.I. 112.)

13. On Monday, October 21, 2013 I sent Mr. Mathiowetz email correspondence in response to
his October 18, 2013 request. Attached hereto as Exhibit H is a true and accurate copy of an
electronic mail message from Lauren M. Nowierski to Duane H. Mathiowetz dated October 21,
2013.

14. Attached hereto as Exhibit I is a true and accurate copy, with highlighting added, of excerpts
from PixArt Imaging Inc.’s 2012 Annual Report, dated May 7, 2013, downloaded on October 25,
2013 and available at
http://www. pixart.com.tw/Upload/Annual%20Report_101_English_20131002114505.pdf.

15. Attached hereto as Exhibit J is a true and accurate copy of a webpage titled “Pixart — Sales

Info.” downloaded on October 25, 2013 and available at http://www. pixart.com.tw/sales.asp.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on October 25, 2013, in New York, New York.

Vl Ya.

LAuren M. Me.

DECLARATION OF LAUREN M. NOWIERSKI 4 Case No. 3:12-cv-02099-JST

